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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

RICHARD STEWART, - Civil No. 3:20-cv-803
Petitioner - (Judge Mariani)
V.
WARDEN SCOTT FINLEY,
Respondent
ORDER

AND NOW, this Pe hay of January, 2021, upon consideration of Petitioner's
motion (Doc. 10) for appointment of counsel, and in accordance with the Memorandum
issued this date, IT IS HEREBY ORDERED THAT the motion (Doc. 10) is DENIED without

prejudice.

 

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Robert D. Mariari
United States District Judge
